Opinion issued August 15, 2024




                                     In The

                              Court of Appeals
                                     For The

                          First District of Texas
                            ————————————
                              NO. 01-23-00458-CR
                           ———————————
              PRESTON JAMAL WALKER BAILEY, Appellant
                                        V.
                      THE STATE OF TEXAS, Appellee


                    On Appeal from the 21st District Court
                         Washington County, Texas
                        Trial Court Case No. 19200


                         MEMORANDUM OPINION

      Preston Jamal Walker Bailey pleaded guilty to two counts of intoxication

assault with a vehicle causing serious injury. See TEX. PENAL CODE § 49.07(a). The

trial court sentenced him to 5 years’ imprisonment in the Institutional Division of

the Texas Department of Criminal Justice for each count with the sentences to run
consecutively. See TEX. PENAL CODE § 12.34(a). Appellant timely filed a notice of

appeal.

         Appellant’s appointed counsel on appeal has filed a motion to withdraw, along

with a brief stating that the record presents no reversible error and the appeal is

without merit and is frivolous. See Anders v. California, 386 U.S. 738 (1967).

         Counsel’s brief meets the Anders requirements by presenting a professional

evaluation of the record and supplying us with references to the record and legal

authority. 386 U.S. at 744; see also High v. State, 573 S.W.2d 807, 812 (Tex. Crim.

App. 1978). Counsel indicates that he has thoroughly reviewed the record and is

unable to advance any grounds of error that warrant reversal. See Anders, 386 U.S.

at 744; Mitchell v. State, 193 S.W.3d 153, 155 (Tex. App.—Houston [1st Dist.]

2006, no pet.). The State waived the opportunity to file a response to the Anders

brief.

         Counsel advised appellant of his right to access the record and provided him

with a form motion for access to the record. Counsel further advised appellant of

his right to file a pro se response to the Anders brief. Appellant did not request

access to the record and did not file a pro se response to counsel’s brief.

         We have independently reviewed the entire record in this appeal, and we

conclude that no reversible error exists in the record, there are no arguable grounds

for review, and the appeal is frivolous. See Anders, 386 U.S. at 744 (emphasizing


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that reviewing court—and not counsel—determines, after full examination of

proceedings, whether appeal is wholly frivolous); Garner v. State, 300 S.W.3d 763,

767 (Tex. Crim. App. 2009) (reviewing court must determine whether arguable

grounds for review exist); Bledsoe v. State, 178 S.W.3d 824, 826–27 (Tex. Crim.

App. 2005) (same); Mitchell, 193 S.W.3d at 155 (reviewing court determines

whether arguable grounds exist by reviewing entire record). We note that an

appellant may challenge a holding that there are no arguable grounds for appeal by

filing a petition for discretionary review in the Texas Court of Criminal Appeals.

See Bledsoe, 178 S.W.3d at 827 &amp; n.6.

      We affirm the judgment of the trial court and grant counsel’s motion to

withdraw.1 Attorney Christopher M. Dillon must immediately send appellant the

required notice and file a copy of the notice with the Clerk of this Court. See TEX.

R. APP. P. 6.5(c). We dismiss any pending motions as moot.

                                   PER CURIAM
Panel consists of Chief Justice Adams and Justices Kelly and Goodman.

Do not publish. TEX. R. APP. P. 47.2(b).




1
      Appointed counsel still has a duty to inform appellant of the result of this appeal
      and that he may, on his own, pursue discretionary review in the Texas Court of
      Criminal Appeals. See Ex Parte Wilson, 956 S.W.2d 25, 27 (Tex. Crim. App. 1997).
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